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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK



 TAWANNA ROBERTS, on behalf of herself
 and all others similarly situated,                           No. 16 Civ. 4841 (LGS)

        Plaintiff,


            - against -

 CAPITAL ONE, N.A.,

        Defendant.


      FINAL APPROVAL ORDER APPROVING CLASS ACTION SETTLEMENT

       WHEREAS, the Parties in the above-captioned class action entered into a Settlement

Agreement and Release dated December 16, 2019;

       WHEREAS, Plaintiff Tawana Roberts has submitted to the Court the Unopposed Motion

for Final Approval of Class Action Settlement in this case;

       WHEREAS, on January 10, 2020, the Court entered a Preliminary Approval Order which,

inter alia: (i) preliminarily approved the Settlement; (ii) determined that, for purposes of the

settlement only, the Action should proceed as a class action pursuant to Rules 23(a) and 23(b)(3)

of the Federal Rules of Civil Procedure; (iii) appointed Plaintiff Tawana Roberts as Class

Representative; (iv) appointed the law firms of Kopelowitz Ostrow Ferguson Weiselberg Gilbert,

Kaliel PLLC, and Tycko & Zavareei, LLP as Class Counsel; (v) approved the form and manner of

Notice Program; and (vi) set a hearing date to consider Final Approval of the Settlement;

       WHEREAS, Notice was provided to all persons identified in the Settlement Class member

list in accordance with the Court’s Preliminary Approval Order by individual email and/or

mailings to all persons in the Settlement Class who could be reasonably identified;


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       WHEREAS, a notice of Settlement was mailed on December 26, 2019, to governmental

entities as provided for in 28 U.S.C. § 1715 (ECF # 172);

       WHEREAS, on October 29, 2020, at 10:50 a.m., at the United States District Court for the

Southern District of New York, 40 Foley Square, Courtroom 1106, New York, NY 10007, The

Honorable Lorna G. Schofield held a Final Approval Hearing to determine whether the Settlement

was fair, reasonable, and adequate; and

       WHEREAS, based on the foregoing, having considered the papers filed and proceedings

held in connection with the Settlement, having considered all of the other files, records, and

proceedings in the Action, and being otherwise fully advised,

       IT IS HEREBY ORDERED AND ADJUDGED as follows:

       1.      This Court has jurisdiction over the subject matter of the Action and over all parties

to the Action, including all Settlement Class Members.

       2.      This Order incorporates the definitions in the Settlement Agreement, and all

capitalized terms used in this Order have the same meanings as set forth in the Settlement

Agreement, unless otherwise defined herein.

       3.      The Notice provided to the Settlement Class in accordance with the Preliminary

Approval Order was the best notice practicable under the circumstances, and constituted due and

sufficient notice of the proceedings and matters set forth therein, to all persons entitled to notice.

The Notice fully satisfied the requirements of due process, Federal Rule of Civil Procedure 23,

and all other applicable law and rules.

       4.      The notice to government entities, as given, complied with 28 U.S.C. § 1715.

       5.      The Settlement (i) is in all respects fair, reasonable, and adequate to the Settlement

Class, (ii) was the product of informed, arms-length negotiations among competent, able counsel,




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and (iii) was made based upon a record that is sufficiently developed and complete to have enabled

the Class Representative and Capital One to adequately evaluate and consider their positions. In

finding the Settlement fair, reasonable, and adequate, the Court has also considered that there were

no objections to the Settlement, and a small number of opt-outs, indicating an overwhelmingly

positive reaction from the Settlement Class, and the opinion of competent counsel concerning such

matters.

       6.      The distribution plan proposed by the Parties is fair, reasonable, and adequate.

       7.      The Class Representative and Class Counsel have fairly and adequately represented

and will continue to adequately represent and protect the interests of Settlement Class Members in

connection with the Settlement.

       8.      Three Settlement Class members have opted-out of the Settlement. A list of those

individuals is attached hereto as Exhibit A. Those individuals will not be bound by the Settlement

or the Releases contained therein.

       9.      Because the Court approves the Settlement set forth in the Settlement Agreement

as fair, reasonable, and adequate, the Court authorizes and directs implementation of all terms and

provisions of the Settlement Agreement.

       10.     All Parties to this Action, and all Settlement Class Members, are bound by the

Settlement as set forth in the Settlement Agreement and this Order.

       11.     The appointment of Tawana Roberts as Class Representative is affirmed.

       12.     The appointment of the law firms of Kopelowitz Ostrow Ferguson Weiselberg

Gilbert, Kaliel PLLC, and Tycko & Zavareei, LLP; as Class Counsel is affirmed.

       13.     The Court affirms the finding that the Settlement Class meets the relevant

requirements of Federal Rule of Civil Procedure 23(a) and (b)(3) for purposes of the Settlement in




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that: (1) the number of Settlement Class Members is so numerous that joinder is impracticable;

(2) there are questions of law and fact common to the Settlement Class members; (3) the claims of

the Class Representative are typical of the claims of the Settlement Class members; (4) the Class

Representative is an adequate representative for the Settlement Class, and has retained experienced

counsel to represent them; (5) the questions of law and fact common to the Settlement Class

members predominate over any questions affecting any individual Settlement Class member; and

(6) a class action is superior to the other available methods for the fair and efficient adjudication

of the controversy.

        14.     Judgment shall be, and hereby is, entered dismissing the Action with prejudice, on

the merits, and without taxation of costs in favor of or against any Party.

        15.     The Releasing Parties hereby fully and irrevocably release and forever discharge

Capital One and each of its present and former parents, subsidiaries, divisions, affiliates,

predecessors, successors and assigns, and the present and former directors, officers, employees,

agents, insurers, members, attorneys, advisors, consultants, representatives, partners, joint

venturers, independent contractors, wholesalers, resellers, distributors, retailers, predecessors,

successors and assigns of each of them (“Released Parties”), of and from any and all liabilities,

rights, claims, actions, causes of action, demands, damages, costs, attorneys’ fees, losses and

remedies, whether known or unknown, existing or potential, suspected or unsuspected, liquidated

or unliquidated, legal, statutory, or equitable, based on contract, tort or any other theory, that result

from, arise out of, are based upon, or relate to the conduct, omissions, duties or matters during the

Class Period that were or could have been alleged in the Action (“Released Claims”), relating to

the assessment of Overdraft Fees on Debit Card Transactions that authorized against a positive

balance but settled against a negative balance due to intervening charges.




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        16.     The Class Representative and all Settlement Class Members are hereby barred and

permanently enjoined from instituting, asserting or prosecuting any or all of the Released Claims

against any of the Released Parties.

        17.     If, consistent with the plan of distribution set forth in the Settlement Agreement,

any Residual Funds exist after the first distribution, the residue will go to Settlement Class Members

by way of a secondary distribution, if economically feasible. Otherwise, the residue will go to the

Jump$tart Coalition for Personal Financial Literacy as cy pres beneficiary.

        18.     Upon completion of the plan of distribution set forth in the Settlement Agreement,

including resolution of any motion to distribute Residual Funds to cy pres recipients, the parties

shall file a joint letter providing a final accounting of the manner in which the Settlement Fund was

distributed.

        19.     The Court hereby decrees that neither the Settlement Agreement, nor this Order,

nor the fact of the Settlement, is an admission or concession by Capital One or the Released Parties

of any fault, wrongdoing or liability whatsoever, or as an admission of the appropriateness of class

certification for trial or dispositive motion practice. This Order is not a finding of the validity or

invalidity of any of the claims asserted or defenses raised in the Action. Nothing relating to the

Settlement shall be offered or received in evidence as an admission, concession, presumption or

inference against Capital One or the Released Parties in any proceeding, other than such

proceedings as may be necessary to consummate or enforce the Settlement Agreement or to

support a defense based on principles of res judicata, collateral estoppel, release, good faith

settlement, judgment bar or reduction, or any other theory of claim preclusion or issue preclusion

or similar defense.

        20.     The Court hereby retains and reserves jurisdiction over: (a) implementation of this




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Settlement and any distributions from the Settlement Fund; (b) the Action, until the Effective Date,

and until each and every act agreed to be performed by the Parties shall have been performed

pursuant to the terms and conditions of the Settlement Agreement, including the exhibits appended

thereto; and (c) all Parties, for the purpose of enforcing and administering the Settlement.

         21.   In the event that the Effective Date of the Settlement Agreement, does not occur,

the Settlement shall be rendered null and void to the extent provided by and in accordance with

the Settlement Agreement, and this Order shall be vacated. In such event, all orders entered and

releases delivered in connection with the Settlement shall be null and void and the Action shall

return to its status immediately prior to execution of the Settlement Agreement.

         22.   With the exception of those listed on Exhibit A, the Court adjudges that the Class

Representative and all Settlement Class Members shall be bound by this Final Approval Order.

         23.   Upon the entry of this Order, the Class Representative and all Settlement Class

Members shall be enjoined and barred from asserting any claims against Capital One and the

Released Parties arising out of, relating to, or in connection with the Released Claims.

         24.   There being no just reason for delay, the Clerk of Court is hereby directed to enter

final judgment forthwith pursuant to Rule 54(b) of the Federal Rules of Civil Procedure.


Dated:     December 1, 2020
           New York, New York




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                             EXHIBIT A

                          EXCLUSION LIST



1. William F. Meehan

2. Joy Osemwenkhae

3. Helen H. Wingerter




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